                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 1 of 94 Page ID #:1




                                                                                 1 Wyeth E. Burrows (State Bar No. 203851)
                                                                                     Wburrows@wshblaw.com
                                                                                 2 Steven J. Scordakis (State Bar No. 328752)
                                                                                     Sscordakis@wshblaw.com
                                                                                 3 WOOD, SMITH, HENNING & BERMAN LLP
                                                                                     501 West Broadway, Suite 1200
                                                                                 4 San Diego, California 92101
                                                                                     Phone: 619-849-4900 ♦ Fax: 619-849-4950
                                                                                 5

                                                                                 6 Attorneys for Defendant, KNIGHT TRANSPORTATION, INC.

                                                                                 7                               UNITED STATES DISTRICT COURT
                                                                                 8             CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
                                                                                 9
                                                                                10 SIPRIANA NAVARRO,                            Case No.
                                                                                11                      Plaintiff,              DEFENDANT KNIGHT
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                                                                TRANSPORTATION, INC.'S
                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12            v.                                NOTICE OF REMOVAL OF
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                                                                ACTION TO FEDERAL COURT;
                                                                                13 KNIGHT TRANSPORTATION, INC.;                 DECLARATION OF STEVEN J.
                                                 Attorneys at Law




                                                                                     MELISSA PRATT; and DOES 1 TO               SCORDAKIS IN SUPPORT
                                                                                14 50, Inclusive,                               THEREOF
                                                                                15                      Defendants.
                                                                                                                                The Hon.:
                                                                                16
                                                                                                                                Trial Date:        None Set
                                                                                17

                                                                                18

                                                                                19            TO THE CLERK FOR THE UNITED STATES DISTRICT COURT
                                                                                20 FOR THE CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION,

                                                                                21 AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                                                                22            PLEASE TAKE NOTICE that based on the following allegations,
                                                                                23 Defendant KNIGHT TRANSPORTATION, INC. ("Moving Defendant"), hereby

                                                                                24 removes the above-referenced action from the Superior Court of the State of

                                                                                25 California, County of Riverside, to the United States District Court for the Central

                                                                                26 District of California – Eastern Division, pursuant to 28 U.S.C §§ 1332, 1441, 1446

                                                                                27 and Federal Rule of Civil Procedure Rule 81(c), based on diversity of citizenship

                                                                                28 jurisdiction.
                                                                                     16178951.1:10092-0090
                                                                                        DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 2 of 94 Page ID #:2




                                                                                 1 I.       TIMELINESS OF REMOVAL
                                                                                 2          1.    The action pending in the Superior Court the State of California ,
                                                                                 3 County of Riverside, Sipriana Navarro v. Knight Transportation, Inc., Melissa Pratt

                                                                                 4 and DOES 1 to 50, Case No. RIC2003582, was commenced on September 9, 2020,

                                                                                 5 by Plaintiff, SIPRIANA NAVARRO ("Plaintiff"). Plaintiff served Defendant

                                                                                 6 KNIGHT TRANSPORTATION, INC. ("Moving Defendant"), with the Summons

                                                                                 7 and Complaint in the Superior Court Action on November 4, 2020. A true and

                                                                                 8 correct copy of the pleadings and other papers served on Defendant KNIGHT

                                                                                 9 TRANSPORTATION, INC. is attached hereto and marked as Exhibit "A". (See,
                                                                                10 attached Declaration of Steven J. Scordakis ("Scordakis Decl.") at ¶3). At this time,

                                                                                11 Defendant MELISSA PRATT has not yet been served by Plaintiff.
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12          2.    The Complaint in the state court is a civil action within the original
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13 diversity jurisdiction of the federal district courts under 28 U.S.C. § 1332(a) because
                                                 Attorneys at Law




                                                                                14 there is complete diversity of citizenship between the litigants, and the amount in

                                                                                15 controversy exceeds $75,000.

                                                                                16          3.    Plaintiff did not serve Moving Defendant for nearly two months.
                                                                                17 Plaintiff served the Moving Defendant on November 4, 2020.

                                                                                18          4.    This Notice of Removal filed by Moving Defendant is timely because
                                                                                19 this filing occurred within 30 days of service on November 4, 2020.
                                                                                20          5.    In compliance with 28 U.S.C. § 1446(a), attached hereto are true and
                                                                                21 correct copies of the Summons and Complaint, as well as the Civil Case Cover

                                                                                22 Sheet, Instructions on How to Complete the Cover Sheet, and the Certificate of

                                                                                23 Counsel (collectively, Exhibit "A") which are the only process, pleadings, and

                                                                                24 orders served on Moving Defendant in this action.

                                                                                25 II.      DIVERSITY JURISDICTION AND CONSENT TO REMOVAL
                                                                                26          6.    Federal courts are courts of limited jurisdiction, having subject matter
                                                                                27 jurisdiction only over matters authorized by the Constitution and Congress. U.S.

                                                                                28 Const. art. III, § 2, cl. 1; e.g., Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.
                                                                                   16178951.1:10092-0090                        -2-
                                                                                        DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 3 of 94 Page ID #:3




                                                                                 1 375, 377 (1994). A suit filed in state court may be removed to federal court if the

                                                                                 2 federal court would have had original jurisdiction over the suit. 28 U.S.C. §

                                                                                 3 1441(a). The party seeking removal bears the burden of establishing federal

                                                                                 4 jurisdiction. Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir.

                                                                                 5 2006) (citing Gaus, 980 F.2d at 566).

                                                                                 6         7.     Federal courts have original jurisdiction over actions where there is
                                                                                 7 diversity of citizenship among the parties. 28 U.S.C. § 1332. Thus, a defendant

                                                                                 8 may remove a case from a state court to a federal court based on diversity

                                                                                 9 jurisdiction, with the consent of all Defendants named in the action. To exercise
                                                                                10 diversity jurisdiction, a federal court must find complete diversity of citizenship

                                                                                11 among the adverse parties, and the amount in controversy must exceed $75,000,
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12 usually exclusive of interest and costs. 28 U.S.C. § 1332(a).
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13         8.     In the case at bar, the Moving Defendant may remove the Complaint
                                                 Attorneys at Law




                                                                                14 and each alleged cause of action contained therein to federal court on the basis of

                                                                                15 diversity of citizenship jurisdiction, in that it is a civil action where the matter in

                                                                                16 controversy exceeds the sum of $75,000, exclusive of costs, and the matter is

                                                                                17 between citizens of different states. 28 U.S.C. § 1332.

                                                                                18         9.     As of this writing, Defendant MELISSA PRATT has not yet been
                                                                                19 served with the summons and complaint in the underlying action. However, she
                                                                                20 does consent to the removal of this matter to federal court.

                                                                                21 III.    PLAINTIFF'S CITIZENSHIP
                                                                                22         10.    At the time this action was commenced, and since that time, Plaintiff,
                                                                                23 SIPRIANA NAVARRO, is an individual and a citizen of the State of California,

                                                                                24 County of Riverside, residing at 25187 Harker Lane, Moreno Valley, California

                                                                                25 92551. (See, Scordakis Decl. at ¶8).

                                                                                26 IV.     DEFENDANTS' CITIZENSHIP
                                                                                27         11.    Pursuant to 28 U.S.C. § 1332(c), "a corporation shall be deemed to be a
                                                                                28 citizen of any State by which it has been incorporated and of the State where it has
                                                                                   16178951.1:10092-0090                     -3-
                                                                                      DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                              COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 4 of 94 Page ID #:4




                                                                                 1 its principal place of business." At the time this action was commenced, and since

                                                                                 2 that time, Moving Defendant KNIGHT TRANSPORTATION, INC. is a

                                                                                 3 Corporation organized in the State of Arizona, with its principal place of business in

                                                                                 4 Phoenix, Arizona, making Moving Defendant a citizen of the State of Arizona. A

                                                                                 5 true and correct copy of the California Secretary of State – Corporation Division -

                                                                                 6 Business Name Search findings for KNIGHT TRANSPORTATION, INC. is

                                                                                 7 attached as Exhibit "B". (See, Scordakis Decl. at ¶7).

                                                                                 8        12.    At the time this action was commenced, and since that time, Defendant
                                                                                 9 MELISSA PRATT is an individual whose address is 6567 East Calle Huerfaro,
                                                                                10 Sahuarita, Arizona 85629, making her a citizen of the State of Arizona.

                                                                                11        13.    The presence of DOE defendants in this case has no bearing on
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12 diversity with respect to removal. See, 28 U.S.C. § 1441(b) ("In determining
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13 whether a civil action is removable on the basis of the jurisdiction under section
                                                 Attorneys at Law




                                                                                14 1332(a) of this title, the citizenship of defendants sued under fictitious names shall

                                                                                15 be disregarded.")

                                                                                16 V.     AMOUNT IN CONTROVERSY
                                                                                17        14.    While Defendants KNIGHT TRANSPORTATION, INC. and
                                                                                18 MELISSA PRATT deny liability for Plaintiff's claims, the amount in controversy

                                                                                19 requirement is satisfied here because it is "more likely than not" that the amount in
                                                                                20 controversy in this personal injury action exceeds the jurisdictional limit of $75,000.

                                                                                21 (Sanchez v. Monumental Life Ins. Co., 95 F.3d 856, 862 (9th Cir. 1996).)

                                                                                22        15.    Plaintiff filed an Unlimited Civil Case in California Superior Court
                                                                                23 where the amount demanded exceeds $25,000, and she claims to have suffered

                                                                                24 personal injuries and property damage, giving rise to damages. (See Exhibit "A.")

                                                                                25        16.    On September 6, 2019, Plaintiff's counsel sent a demand letter to
                                                                                26 Moving Defendant stating that Plaintiff has suffered substantial injuries including

                                                                                27 "persistent pain in her neck, upper back, lower back, left shoulder, and right ankle"

                                                                                28 and that Plaintiff's vehicle sustained property damage as a result of the subject
                                                                                   16178951.1:10092-0090                      -4-
                                                                                      DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                              COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 5 of 94 Page ID #:5




                                                                                 1 collision. In the letter, Plaintiff's counsel made a clear and unequivocal demand to

                                                                                 2 settle the matter for $250,000. A true and correct copy of the Plaintiff's settlement

                                                                                 3 demand letter is attached hereto and marked as Exhibit "C". (See Scordakis Decl.

                                                                                 4 at ¶9).

                                                                                 5            17.       In support of the demand letter Plaintiff's counsel attached photographs
                                                                                 6 of Plaintiff's vehicle after the subject collision and Plaintiff's medical records

                                                                                 7 showing Plaintiff's medical treatment and bills up to June 14, 2019. As of

                                                                                 8 September 6, 2019, Plaintiff was alleging property damage in the amount of

                                                                                 9 $15,650.68 and had already incurred $23,165.00 in total medical bills to date, with
                                                                                10 charges pending, as a result of the incident, and alleges future medical treatment

                                                                                11 costs will be incurred and necessary for her bodily injury claims. Counsel for
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12 Moving Defendant defers lodging Plaintiff's actual medical records provided in
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13 support of the demand letter due to privacy concerns.
                                                 Attorneys at Law




                                                                                14            18.       Accordingly, Plaintiff's Complaint, Plaintiff's settlement demand,
                                                                                15 Plaintiff's property damage estimates, and Plaintiff's medical bills, as well as her

                                                                                16 allegations of future treatment, are sufficient evidence to establish that it is more

                                                                                17 likely than not that the amount in controversy exceeds the jurisdictional amount of

                                                                                18 $75,000, pursuant to 28 U.S.C. § 1332(a).

                                                                                19 VI.        NOTICE TO STATE COURT
                                                                                20            19.       The Moving Defendant will promptly serve a true and correct copy of
                                                                                21 this Notice of Removal on Plaintiff and file it with the Clerk of the Superior Court

                                                                                22 of the State of California, County of Riverside, as required by law.

                                                                                23 VII. CONCLUSION

                                                                                24            20.       Because this action involves Defendants that are citizens of different
                                                                                25 states than Plaintiff, and the amount in controversy exceeds $75,000, it satisfies the

                                                                                26 requirements for removal under 28 U.S.C. §§ 1332(a) and 1441(a), and this Court

                                                                                27 has original jurisdiction.

                                                                                28            21.       Because the state court action is one within the diversity jurisdiction of
                                                                                     16178951.1:10092-0090                           -5-
                                                                                        DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 6 of 94 Page ID #:6




                                                                                 1 the federal district courts, and all defendants consent to removal, the action is

                                                                                 2 removable to federal court under 28 U.S.C. § 1441(a) and (b) because no defendant

                                                                                 3 is a citizen of the State of California.

                                                                                 4            22.       Removal to this District Court is proper under 28 U.S.C. § 1441(a)
                                                                                 5 because the Superior Court of California for the County of Riverside is

                                                                                 6 geographically located within this court's district.

                                                                                 7            23.       Removal is timely under 28 U.S.C. § 1446(b) because this Notice of
                                                                                 8 Removal is filed within thirty (30) days of service of process of the Complaint

                                                                                 9 because Plaintiff served Moving Defendant on November 4, 2020.
                                                                                10            WHEREFORE, Moving Defendant KNIGHT TRANSPORTATION, INC.
                                                                                11 respectfully requests that the above action now pending before the Superior Court of
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12 the State of California for the County of Riverside be removed to this Court.
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13
                                                 Attorneys at Law




                                                                                14 DATED: November 30, 2020                   WOOD, SMITH, HENNING & BERMAN LLP
                                                                                15
                                                                                                                              By:      /s/ Wyeth E. Burrows
                                                                                16                                                     WYETH E. BURROWS
                                                                                17                                                     STEVEN J. SCORDAKIS
                                                                                                                              Attorney for Defendants, KNIGHT
                                                                                18                                            TRANSPORTATION, INC.
                                                                                19
                                                                                20

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                                                                                     16178951.1:10092-0090                          -6-
                                                                                        DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 7 of 94 Page ID #:7




                                                                                 1                   DECLARATION OF STEVEN J. SCORDAKIS
                                                                                 2         I, Steven J. Scordakis, declare as follows:
                                                                                 3         1.    I am an attorney at law duly admitted to practice before the courts of
                                                                                 4 the State of California. I am an Associate with WOOD, SMITH, HENNING &

                                                                                 5 BERMAN LLP, attorneys of record for Defendant KNIGHT TRANSPORTATION,

                                                                                 6 INC. I know the following facts to be true of my own knowledge, and if called to

                                                                                 7 testify, I could competently do so.

                                                                                 8         2.    This Declaration is made in support of the Defendant KNIGHT
                                                                                 9 TRANSPORTATION, INC.'S ("Moving Defendant's") Notice of Removal to
                                                                                10 Federal Court.

                                                                                11         3.    Attached hereto as Exhibit "A" is a true and correct copy of Plaintiff
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12 SIPRIANA NAVARRO'S ("Plaintiff') Summons and Complaint, as well as the Civil
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13 Case Cover Sheet, Instructions on How to Complete the Cover Sheet, and the
                                                 Attorneys at Law




                                                                                14 Certificate of Counsel. These are the only pleadings and orders served upon

                                                                                15 Defendant KNIGHT TRANSPORTATION, INC. in this action to date.

                                                                                16         4.    Plaintiff filed her Complaint on September 9, 2020.
                                                                                17         5.    Defendant, KNIGHT TRANSPORTATION, INC. was served with the
                                                                                18 Summons and Complaint in this case on November 4, 2020.

                                                                                19         6.    Defendant MELISSA PRATT ("Ms. Pratt"), is now, and was at the
                                                                                20 time of the filing of this action, a citizen of a State other than California. Ms. Pratt

                                                                                21 is a citizen of the State of Arizona.

                                                                                22         7.    Defendant KNIGHT TRANSPORTATION, INC. is now, and was at
                                                                                23 the time of the filing of this action, a citizen of a State other than California because

                                                                                24 it is a corporation organized under the laws of the State of Arizona, with its principal

                                                                                25 place of business in Phoenix, Arizona. On November 24, 2020 I performed internet

                                                                                26 research and utilizing the California Secretary of State website where KNIGHT

                                                                                27 TRANSPORTATION, INC. is identified as an Active corporation legally operating

                                                                                28 as a business in Phoenix, Arizona. Attached hereto as Exhibit "B" is a copy of the
                                                                                   16178951.1:10092-0090                   -7-
                                                                                      DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                              COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
                                                                                Case 5:20-cv-02481-JGB-KK Document 1 Filed 11/30/20 Page 8 of 94 Page ID #:8




                                                                                 1 California Secretary of State – Corporation Division - Business Name Search

                                                                                 2 findings for KNIGHT TRANSPORTATION, INC.

                                                                                 3            8.        To the best of my knowledge, Plaintiff SIPRIANA NAVARRO is now,
                                                                                 4 and was at the time of the filing of this action, a citizen of the State of California

                                                                                 5 because Plaintiff's last known address is 25187 Harker Lane, Moreno Valley,

                                                                                 6 California 92551.

                                                                                 7            9.        Attached hereto as Exhibit "C" is a true and correct copy of the
                                                                                 8 Plaintiff's settlement demand letter dated September 6, 2019.

                                                                                 9            I declare under penalty of perjury under the laws of the United States of
                                                                                10 America that the foregoing is true and correct.

                                                                                11            Executed November 30, 2020, at San Diego, California.
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                12
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13                                                         / s / Steven J. Scordakis
                                                 Attorneys at Law




                                                                                14                                                         Steven J. Scordakis

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                                                                                     16178951.1:10092-0090                          -8-
                                                                                        DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
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         EXHIBIT A
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          EXHIBIT B
11/24/2020Case     5:20-cv-02481-JGB-KK      Document
                                  Business Search            1 Filed
                                                  - Business Entities      11/30/20
                                                                      - Business Programs Page      17Secretary
                                                                                          | California of 94 of Page
                                                                                                                State ID #:17


Alex Padilla
California Secretary of State


              Business Search - Entity Detail

     The California Business Search is updated daily and reflects work processed through Monday, November 23, 2020. Please refer
     to document Processing Times for the received dates of filings currently being processed. The data provided is not a complete
     or certified record of an entity. Not all images are available online.

     C1650805 KNIGHT TRANSPORTATION, INC. WHICH WILL DO BUSINESS IN
     CALIFORNIA AS ARIZONA KNIGHT TRANSPORTATION, INC.
        Registration Date:                                             10/17/1989
        Jurisdiction:                                                  ARIZONA
        Entity Type:                                                   FOREIGN STOCK
        Status:                                                        ACTIVE
        Agent for Service of Process:                                  C T CORPORATION SYSTEM (C0168406)
                                                                       To find the most current California registered Corporate
                                                                       Agent for Service of Process address and authorized
                                                                       employee(s) information, click the link above and then
                                                                       select the most current 1505 Certificate.

        Entity Address:                                                20002 N. 19TH AVENUE
                                                                       PHOENIX AZ 85027
        Entity Mailing Address:                                        20002 N. 19TH AVENUE
                                                                       PHOENIX AZ 85027

            Certificate of Status


     A Statement of Information is due EVERY year beginning five months before and through the end of October.


       Document Type                                File Date         PDF

       SI-NO CHANGE                                  05/08/2019


       PUBLICLY TRADED DISCLOSURE                    08/31/2015


       SI-COMPLETE                                   05/14/2015


       PUBLICLY TRADED DISCLOSURE                    06/20/2014


       PUBLICLY TRADED DISCLOSURE                    09/29/2006


       PUBLICLY TRADED DISCLOSURE                    07/18/2005


       PUBLICLY TRADED DISCLOSURE                    06/26/2004         Image unavailable. Please request paper copy.

       AMENDED REGISTRATION                          08/05/1992



https://businesssearch.sos.ca.gov/CBS/Detail                                                                                         1/2
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                                  Business Search            1 Filed
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                                                                                                                State ID #:18

       Document Type                                   File Date          PDF

       REGISTRATION                                     10/17/1989



     * Indicates the information is not contained in the California Secretary of State's database.

             If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
             California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
             For information on checking or reserving a name, refer to Name Availability.
             If the image is not available online, for information on ordering a copy refer to Information Requests.
             For information on ordering certificates, status reports, certified copies of documents and copies of documents not
             currently available in the Business Search or to request a more extensive search for records, refer to Information
             Requests.
             For help with searching an entity name, refer to Search Tips.
             For descriptions of the various fields and status types, refer to Frequently Asked Questions.


        Modify Search               New Search           Back to Search Results




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                                                                                  1                                  PROOF OF SERVICE
                                                                                  2       I am employed in the County of San Diego, State of California. I am over the
                                                                                    age of eighteen years and not a party to the within action. My business address is
                                                                                  3 501 West Broadway, Suite 1200, San Diego, CA 92101.

                                                                                  4      On November 30, 2020, I served the following document(s) described as
                                                                                    DEFENDANTS' NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                  5 COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT
                                                                                    THEREOF on the interested parties in this action as follows:
                                                                                  6
                                                                                      Hussein H. Saleh, Esq.
                                                                                  7 THE DOMINGUEZ FIRM
                                                                                      3250 Wilshire Boulevard, Suite 2200
                                                                                  8 Los Angeles, CA 90010
                                                                                      Tel: 213.388.7788 | Fax: 213.388.9540
                                                                                  9 Email: hussein.saleh@dominguezfirm.com
                                                                                      Attorneys for Plaintiff SIPRIANA NAVARRO
                                                                                 10

                                                                                 11       ONLY BY ELECTRONIC TRANSMISSION. Only by e-mailing from e-
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                    mail address mstumbaugh@wshblaw.com the document(s) to the persons at the e-
                                    TELEPHONE 619-849-4900 ♦ FAX 619-849-4950




                                                                                 12 mail address(es) listed based on notice provided that, during the Coronavirus
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                    (COVID-19) pandemic, this office will be working remotely, not able to send
                                                                                 13 physical mail as usual, and is therefore using only electronic mail. No electronic
                                                 Attorneys at Law




                                                                                    message or other indication that the transmission was unsuccessful was received
                                                                                 14 within a reasonable time after the transmission.

                                                                                 15        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                    the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                 16 Participants in the case who are registered CM/ECF users will be served by the
                                                                                    CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                 17 be served by mail or by other means permitted by the court rules.

                                                                                 18       I declare under penalty of perjury under the laws of the United States of
                                                                                    America that the foregoing is true and correct and that I am employed in the office
                                                                                 19 of a member of the bar of this Court at whose direction the service was made.
                                                                                 20            Executed on November 30, 2020, at San Diego, California.
                                                                                 21

                                                                                 22                                              /s/ Maryellen A, Stumbaugh
                                                                                                                                 Maryellen A. Stumbaugh
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                                                                                         DEFENDANT KNIGHT TRANSPORTATION, INC.'S NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                                                                 COURT; DECLARATION OF STEVEN J. SCORDAKIS IN SUPPORT THEREOF
